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                             IN THE UNITED STATES DISTRICT COURT

                                       DISTRICT OF UTAH

JOSE MORENO, Individually, and on Behalf            ORDER FOR PRO HAC VICE
of All Others Similarly Situated,                   ADMISSION OF NICHOLAS J.
                                                    SICILIANO
                       Plaintiff,
                                                    Case No. 2:18-cv-00510-JNP
         v.
                                                    The Honorable Jill N. Parrish
POLARITYTE, INC.; DENVER LOUGH;
and JEFF DYER,

                       Defendants.

         It appearing to the Court that petitioner meets the pro hac vice admission requirements of

D.U. Civ. Rule 83-1.1(d), the motion for the admission pro hac vice of NICHOLAS J.

SICILIANO in the United States District Court, District of Utah, in the subject case is

GRANTED.


DATED this 2nd day of August, 2018.



                                                   Hon. Jill N. Parrish
                                                   United States District Judge




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 1st day of August, 2018, a true and correct copy of the

foregoing ORDER FOR PRO HAC VICE ADMISSION OF NICHOLAS J. SICILIANO

was served to counsel who have appeared electronically in this action.



                                                       /s/ Rose Gledhill




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